                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                             DOCKET NO. 5:11CV68-RLV
                                        5:05cr9-3RLV

__________________________________________
                                          )
SHONIKA GAIL ECKLES                       )
         Petitioner,                      )
                                          )
      v.                                  )                   SCHEDULING ORDER
                                          )
UNITED STATES OF AMERICA                  )
             Respondent.                  )
__________________________________________)



         THIS MATTER is before the Court upon Petitioner’s claims of ineffective assistance

of counsel during the plea negotiation phase of her criminal proceeding. More specifically, had

she been properly counseled, she would have accepted a plea agreement rather than proceed to

trial. The Court entered an order on May 16, 2014, that an Evidentiary Hearing will need to be

held in order to resolve this issue.

        IT IS, THEREFORE, ORDERED that:

        The Bureau of Prisons and the United States Marshals Service is hereby ORDERED to

transport and produce the body of SHONIKA GAIL ECKLES (USM# 19925-058), for an

Evidentiary Hearing on September 2, 2014, at 3 PM, before the Honorable Richard L.

Voorhees, in the Western District of North Carolina, Statesville Courthouse, 200 West Broad

Street, 2nd Floor Courtroom, Statesville, North Carolina, not later than August 15, 2014, and

upon completion of the Evidentiary Hearing, Defendant is to be returned to the custody of the

Bureau of Prisons.
        The Clerk is directed to certify copies of this Order to the United States Attorney,



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Defendant’s Counsel, the United States Marshal Service, and the United States Probation Office.




 Signed: June 19, 2014




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